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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA             :
                                     :
v.                                   :
                                     :      Case No.: 1:21-CR-725 (RDM)
JARED SAMUEL KASTNER,                :
LUKE FAULKNER, and                   :
KENNETH DUNCAN MASSIE,               :
                                     :
            Defendants.              :

                   NOTICE OF ATTORNEY APPEARANCE
      The United States of America by and through its attorney, the United States

Attorney for the District of Columbia, and undersigned counsel, hereby informs the

Court that Assistant United States Attorney Cytheria D. Jernigan is entering her

appearance in the above-captioned matter as counsel for the United States. Trial

Attorney Will Widman will remain as counsel of record.


                                     Respectfully submitted,

                                     MATTHEW M. GRAVES
                                     United States Attorney
                                     DC Bar No. 481052

                                     /s/ Cytheria D. Jernigan
                                     CYTHERIA D. JERNIGAN
                                     DC Bar No. 494742
                                     Assistant U.S. Attorney, WDLA
                                     Detailed to the U.S. Attorney’s Office
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                                     Cytheria.Jernigan@usdoj.gov
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                          CERTIFICATE OF SERVICE
      On this 8th day of May 2023, a copy of the foregoing was served upon all parties

listed on the Electronic Case Filing (ECF) System.


MATTHEW M. GRAVES
United States Attorney
DC Bar No. 481052


/s/ Cytheria D. Jernigan
CYTHERIA D. JERNIGAN
Assistant U.S. Attorney
